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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, THOMAS BAKER
    and JOHN DOE,
                          Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                           Defendants.

    PLAINTIFFS’ REPONSE TO DEFENDANT CHRISTOPHER CANTWELL’S LETTER
                          TO THE COURT (ECF 1110)
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          We write briefly in response to “Defendant Christopher Cantwell’s September 22nd, 2021

   Letter to the Court” (ECF 1110). While we (who Mr. Cantwell characterizes in his letter as an

   “army of Jewish lawyers” (id. at 3)) fully support any and all efforts to expedite the procedures for

   getting Mr. Cantwell access to documents that he claims he is being denied by virtue of his

   incarceration, our clients, the plaintiffs in this case, who filed this lawsuit almost four years ago,

   are understandably eager for this case to move forward and therefore would adamantly object to

   any continuation of the October 25, 2021 trial date, as discussed most recently in our prior

   submission to the Court dated September 23, 2021 (ECF 1108 at 1-2).



   Date: September 24, 2021

                                                         Respectfully submitted,



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                                                         Yotam Barkai (pro hac vice)
                                                         Emily C. Cole (pro hac vice)
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                                             Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 24, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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           I hereby certify that on September 24, 2021, I also served the following non-ECF
   participants via mail and electronic mail:

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